                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION

                                   NO.: 7: 08-CR-75-D-2


UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )
                                                        )
JAMES LAMONT BONEY,                                     )
                  Defendant.                            )
                                                        )
__________________________________________ l                                                      .

        THIS CAUSE is before the court on a Motion of the Defendant to continue the

Sentencing Hearing set for February 10, 2009 at 9:00 a.m. in the United States District

Court located at Raleigh, North Carolina to a later session of criminal court.

       Defense counsel informs the court she requires additional time to review the Pre-

Sentence Report with the defendant and additional time in order to adequately prepare

and represent the defendant.

        Defense counsel also informs the Court the United States Government has no

objection to this motion to continue.

       FOR GOOD CAUSE SHOWN the Defendant's motion is ALLOWED. Having

balanced the needs for delay against the rights of the public and the Defendant to a

speedy trial, the court specifically finds that the interest ofjustice are served by the delay,

and ORDERS that the delay resulting from this extension be excluded from the Speedy

Trial Act computations pursuant to 18 U.S. C. §§3161(h)(8)(A)

       SO ORDERED, this the         .3.....t)"'"--_ _   ~~"-W!Uof--' 2009.




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